Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 1 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 2 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 3 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 4 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 5 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 6 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 7 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 8 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 9 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 10 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 11 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 12 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 13 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 14 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 15 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 16 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 17 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 18 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 19 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 20 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 21 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 22 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 23 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 24 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 25 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 26 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 27 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 28 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 29 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 30 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 31 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 32 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 33 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 34 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 35 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 36 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 37 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 38 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 39 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 40 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 41 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 42 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 43 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 44 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 45 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 46 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 47 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 48 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 49 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 50 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 51 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 52 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 53 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 54 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 55 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 56 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 57 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 58 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 59 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 60 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 61 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 62 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 63 of 64
Case 3:22-cv-00040-DB Document 1-4 Filed 01/31/22 Page 64 of 64
